Case 08-00156-bif   Doc 1-2              Filed 07/03/08 Entered 07/03/08 09:52:26   Desc
                                       exhibit A Page 1 of 13




                                       EXHIBIT ..A''




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                                    U.S. District Court
                        District of New JerseyILIVEI (Newark)
                  CIVL DOCKET FOR CASE #: 2:01-cv-0S392-JAG-MCA


 NATIONAL FERTILIZERS v. VEPURI, et al                                     DateFiled: Il/20n0i01
 Assigned1o:JudgcJosephA. Greenaway,.Ir.                                   DateTenninated:06/23|200:.
 Refcrredto: MagistrateJudgeMaclelincC. Arleo                              Jury Demand: Both
 Demancl:gO                                                                Nature of Suit: 370 Fraud or 'l'r.uth-In-
 Casein otirelcourt: USCA 3rd Circuit,07-014BB                             Lending
 Cause:28:1332 Divcrsity-Fraud                                             Jurisdiction: Diversitv

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 TUNCAYALANKUS
PIaintifT
NATIONAL FERTILIZERS                          representedby PAUL L. KATTAS
LTlVIITED                                                   REPPERT KELLEY
                                                            403 KING GEORGE ROAD
                                                            SUITE 201
                                                            BASKING RIDGE. N.I 0792()
                                                            908-647-9300
                                                            Email: pkattats@reppertkclly
                                                                                       r:cm
                                                            I.EAD ATTORNEY
                                                            ATTORNEY TO BE NOTICE],I

                                                                           PHII,IP DAVID ROBBEN
                                                                           KELIJY, DRYE & WARREI.i, LLP
                                                                           lOI PNRK AVENUE
                                                                           NEW YORK, NY 10178
                                                                           2l 2-808-7800
                                                                           Ernail: probben@I<elIeyclrye.c<r
                                                                                                         nr
                                                                           ATTORNEY TO BE NQTICED,


 V.
Deferr.dan!-
          ..                                                    i', , ..               j.
  :F'i'                                                                          ,,,

lVItlRTY S. VEPURI                            represented'tit''JoNATHAN KOHN
                                                             ROTHBARD. ROTHBARD. F;:OI.IN
                                                                                        &
                                                             KEIJER. ESQS.
                                                             50 PARK PLACE



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    Case 08-00156-bif            Doc 1-2     Filed 07/03/08 Entered 07/03/08 09:52:26           Desc
                                           exhibit A Page 3 of 13

tr/27t2001                  SUMMONS(ES)issuedI'orMURTY S. VEPURI( 20 Days)(Mailedto
                            Counsel)(r) (Entere
                                              d: 1112712001)
tu27t20Ql                   SUMMONS(ES)     issuedfor VARALAXMI VEPURI( 20 Days)(M;r:iled
                                                                                        to
                            Counsel)(ir) (Enterc
                                               d: Ll /2712001)
11t27t2001             2 NOTICEof AllocationandAssignment
                                                        filed.MagistrateJudgeG. [()NALD
                                                             addedon 6/E/2047(mrr.). (Il:rtered:
                            HANEKE fir) Additionalattachment(s)
                            11/27/2001)
12t07t2001             -1   RETURNOF .SERVICE   executedasto VARALAXMI VEPURIL2;:\101
                            Answerducon 12125/Qtfor VARALAXMI VEPURT(id) Additional
                                       addedon 5/8/2007(mn,). (Errtered:12107/2001)
                            attachment(s)
t2107t2001             4    RETURNOF SERVICEexecuted      asto MURTY S. VEPURI l2l5l01 Answer
                            dueon t2/25/01fpr MTIRTYS.   VEPURI                           added
                                                                (id) Additionalattachmenl(rr)
                            on 6/8/2007(mn,). (Entered:1210712001)
02106t2002             5 Noticeof MOTION for HcnryJ. Stcinglass  to appearpro hacviceb1'I\4URTY
                         s. vEPURl,VARALAXMI VEPURI,        Motion  setfor 3/ll/0? on [5'Il motion
                                                        attached(POSubm)0d) AdditionttI
                         rv/certof serviceanddeclarations
                         attaclrment(s)addedon 6/8i2007(mn, ). (Entered:0210612002)
02119/2002             6 STIPULATIONandORDER,extending       tiure. settinganswerduefor 3ll2loz
                         for vARALAXMMPURI,        for MURTY   S. VEPURI( signedby Milg.Judge
                                                        attachmcnt(s)
                         G. D. Hanckc) n/m (d) Additional             addcclon 6/8/200Jrimn.).
                         (Entered:O2|L9/2O02)

0310812002             1 ORDER,sctschcdulingconfcrcncefor l1:00 4lt5l02 ( signedby Ma;;r.Judge
                                                                        addedon61812001'(rnn,
                            G. D. Haneke) (NM) (nc)Additionalattachmcnt(s)                ).
                            (Entered:03/08/2002)

03/1212002             I
                       o    Noticc of Intcnt to sttbmit a Dispositivemotion dismissingactionby hIURTY
                            S. VEPURI. VARALAXMI VEPURI (id) Additional attachrnent(s)        ziclded
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                            618t2007(rrur. ). (Enteted: 03113/2002)
(t3t25t2002            I    Minuteenry: Proceedings  recordcdby Ct-Repolter:rrone-;
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                            3l2:,l)Z;nl fottowingactionswcrctaken,l5-l I motionfor HeruyJ.
                                      to appearpio hacvicetakcnttnderadvis€ment,
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                            JurlgjG. D. Flineke(jO)eaaitionalattachmcnt(s)      on
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                            (Errtered
                                    : 03/2512002)
 03/25t2002        r0                                                                 appearpto ltir'crrice
                            ORDER gfantillg [5-l ] rrotion l'or Henry J. Stcinglas.s-to
                            ( sigrredLtylvlog,fudge C. D. Ilaneke)  (NM)   (id) Additionalattaclrn'{nt(s)
                            aadld on 618/2007(mrl' ). (Enter:ed:03125/2002)

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                            -Exccutiveof thc CompanyMr, TuncayAlankus,etal(qopy,o tO61 ljtl)
                                       attachment(s)
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                  I r) ;Notice of MOTION for Paul Doyle to appear:1fr-;hac
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                            ,Fe,nfU-lZERS"Motiol:tset f,or5/13fiZ on [12"1] motiofl cert of serv,r:re
                             Sulrrn)0d) Addir:jonalsttacllmen(s)addedon 6/8/2007(rrttl.), (Entertd:
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                                     exhibit A Page 4 of 13

                     discoveryandgrantingrnotionto extendthediscover:y pcriod,settingq
                     discoveryduefor 4/15103.setting$etilement conferenccfor 2:304/',2.,103
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                     rcsponseto writtendiscovcryis due).16/03,    By
                                                             ctc. Judgc.Ioseph   A.
                     Grecnaway,                                addcdon 6/8/2007(rru. ).
                                 Jr. (id) Additionalattachment(s)
                     (Entered:Illz6n0AZ)

12109/2A02                                               motionto extendtJrc
              3 6 ORDERdenying129-llmotiorto staydiscovery;
                     discovetyperiodis grantedto tlie extentthatthediscoveryperiodsha.llbe
                     extendedtn 4/l5l0} i settingsettlernent           for 2;30 4l2l103( iigned
                                                             conl'erence
                     by Judge.Ioseph A. Grcenaway,.Ir. )  (NM)  (jd)          attachmerrr(s)
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                     addedon 6/8/2007(mn,).   (Entered:  l2ll0l20D?)
ot/17/2Q03    3 7 MinuteenlJy:Proccedings                     none;Minutcs6:[:
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                     t/17103;Thefollowingactionsweretal<en.                   (teleplrnne).
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                     I)eftsto turnovcrall writtendiscoveryirnrnecliately. Judge
                                                                              JosepfiA,
                     Grccnaway,                                 addcdon 6/8/2007(mn, t.
                                  Jr. (id) Additionalattachment(s)
                     (Entered:0l12112003)

04t21t20Q3    -38 Minutc cntry: Proceedingsrecordedby CfRepofter; nonc; Minutes c,J';
                     4Dl/A3;The l'ollowing actionswere taken.Scttlcmcntconfigrettce. Trial date
                     set for 9/9103at 9:30 a.m.By JudgcJoseph A. Greenaway,  Jr' (d) A,J;litional
                     attachment(s)added ort6l\l2007 (mn, ), (Entered: 0412212003)

04/22t2003                                                          (id) (Entered:041"1"^"12003)
                     Dcadlinenpdatcd;settingtrial datcfor 9:30 919103

04t28/2003    ?q ORDERnrooting124-llrnorjonto extendtime to an,swer   atrr.ended crltnplaint
                 ( signedtry Mae.JudgeC. D. I{aneke) (NM) (bl) Additional attachntcnt(s)
                 addedon 6/8/2007 (mn,),         AXXXXXXXX)
                                         (Entcrcd:

04/2812003    40 ORDERtcrminatiug|.z4-Ilmotiouto extendtirneto snsweramended
                 complainrasMOOi. ( signedby JudgcJoscphA. Greenaway,       Jr' ) (ltlM) (ar)
                                       ;ddcd on 6/8/2007(mp. ) - (Entered: 04129
                 ndditlonal attachmcnt(s)                                         /"t('t03)

05/08/2003     4l                                                   complamt$y
                     Noticeof MOTION for leaveto I'ilesccondatncnclcd
                     NATIONALFERTILIZERS,       Motio:rsetfoT619103on [41-l] rnotionl:ertof
                                                                      addedon 6/8/2()07
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                     scrvice(Brief/POSubrn)(icl)Aclclitional
                     (mn,). (Entcrecl:
                                    05/08/2003)

05/08/2003     A 1
                     DECI;ARATION ol.PhilipD^ Robbcnon bchalf of NATIoNAL
                     FERTILIZERSin supportof 141-lI rnotionI'orleaveto f ile secondanrended
                     complaint w/exhibitr attachccl(id) Additional attacfimcnt(s)addedO1'r
                     6/1Ii?007 (mn, ). (Entcrcd:05/08/2003)

a6t02/2003     .lJ    Mintiteentry:Procccclings   rccordecl               none;Minutesol"':'
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                      The iollowingactionswerctakcn.Status/Scheduling     Conf-  The pltfs r"'ill be
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                      f+r!,".t foliglgl0j ar3:30pml'l'rialdaiesetfor 9/9/03at 9:30fl.rn;B'i Judge
                      Joiph A. Greenaway,                                    addedon 6/8,'1i1007
                                             Jr'.(ia) eaAitionalatterchment(s)
                      (mn,). (Entered:061$2/2Q03)



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 Q6l11l2A03    44   OIDER granting141-ll mol.ionfor lcaveto file sccondamencled  cc,rlrplaint
                    arrdthatthe seconclamended complaintis deerncclto havebeenfilerl,;Del'ts
                    hqvc10daysfiom thedatethisordcris enteredto answerandresporrlJ     to the
                    amendrnent  ( signedby Judge.Ioseph
                                                      A. Grccnaway,.h', ) (NM) (id)
                    Additionalathchmcnt(s)  addedon 6/8/2007(mn,), (Entered;06/l l,',il003)
 06n8/2003     +s SecondAMEI\{DEDCOMPLAINT by NATIONAL FERTILIZERS,
                    amending120-Ilamended  complaint;jur:ydeniand(id) Addirionalauachment
                    (s) addcdon 6/6/2007(mn,). (Entcrcd:06/18/2003)
 0612012003 46 ORDERTo:                   argumentorrall pcndingdisposi:ve
                     dispositivemotions-oral
                    motionsshallbeheardon 8/15/03;motiorrin liminc- oral argument':,'tr
                                                                                     all
                    pendingmotionsinlimineshallbeheard9BlA3:etc.( signedby Judlrle    Joseph
                    A. Greenaway,  Jr. ) (NM) (ict)Additionalattachment(s)
                                                                        addcdon 6l:112}07
                    (mn, ). (Entered:06123/2003)
 07t2u2003    +l    Notice oli MOTION for summaryjudgment by NATIONAL FERTI)-,IZERS,
                    Motion set for E/I5/03 on [47-ll motion w/cert of serviceattachcd(iill:1sflPt
                    Sulrnr)(id) Additional attachrncnt(s)adclcdon 6ll2/2Q07 (mn, ). (Entri,red:
                    07t22t2Q03\

 07t2U2003    48 DECLARATIONof NarendaIturnarGuptaon bchalfof NATIONAI.
                 FERTILIZERSin supportof [47-l ] motionl'ot summaryiudgment  ,uv,lexhibits
                                                  addedon6/12/2007(mn,), Actrlitional
                        (d) Additionalattachment(s)
                 attached
                 attachment(s)
                             added on 6l       (mn,
                                         14/2007    ). (Entcrcd: 07122/2Q03)
 07t21t2QQ3   4,9 DECLARATIONof PaulF. Doyleon behalfof NATIONAL FERTftjIZnnS
                  in supportof [a7-l] motionfor summaryjudgmentw/exlribitsattacheiJ(d)
                  Additionalattacltment(s)                 (mn,
                                          addedon 611212007 ).  (Enteled:  07/2i',,t,2003)

 07tzvz003    50 CERTIFICATION ol'GeorgeR. Talarico on behalf of MURTY S, VI:I,PURI,
                    VARALAXMI VEPURI in oppositionto 147-11motionfor summar;r
                    iudgment w/exhibits attachecl(id) Additjonal attachrnent(s)addedor
                    6/11/2001 (mn, ). (Enteted:Q7/2212OO3)

 07/2u2Q03    5l    CERTIFICATION of Varalaxmi Vcptrri on bchalf of MLIRTY S. VIill'URI
                    VARALAXMI VEPURI in oppositionto I;,.47'Ilmotion for summar'r
                    judgmort;fid) Additional attachment(s)addedon6/8120A7(mn, ). (Errttered
                    07t22t2003)
 07t21/20Q3    52 CERTIFICATION   ol=Murtys. Vepurion behaifof MURTY S. VEP(JRI.
                  VARAI-AXMI VEPURIi1oppositionto 147-ll motioufor sumntalr
                                                                      addedon
                          w/exhibitsattachcd(id) Additionalattachment(s)
                  .ludgnrent
                  6n1/2A07(mn;). (Entered:07/2?/2OO3)
 Q7t2V2003     53- ReplyDFCLARATIONof PaulF. Doyleon behalfot:NATIONAL
                    nnnilt-iZERS in furthcrsupportof 147-l.lmotionfor sttmuraryiud11rnent
                    w/exhiliit$f,tiubhed                         added
                                       0cl)Additionalattachment(s)     on          r(mn.) .
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                    (Entepd+-b7t22/2003)                       ..-- .    -;;.;      -

 08/05/2003    s_4Notit0'"otMOTION    in limine exclndingevidencer:elatirretci dcft Mur:ly'
                    Vepuri'sihvocationo[ his 5tlr Amendment,etc.by MURTY S. VEPI-fi3.t.
                    VARALAXMI VEPURI' Motion setfor 9/1/03on [54-11motion w/r:r:rtoll




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 a4t2E/2005      $.t- 9RDER granting84 Motionfor Leaveto Appearpro hacvicc asr.o,,.)athleen
                     I(. condren. signedby.ludgc.Ioseph
                                                     A. Greenawiy,Jr.on4/z7t}s.(id,,)
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 04/28t2005      89 AFFIDAVIT oi scrvicefor order:panting Motion,forLeatteto Appesyptp
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                     offices of Susheela  Vermaon 4/28105,l'iledby NATIONAI- FERTI:L,IZERS
                     LIMITED. (ROBBEN,PHILIP)(Entered:04/28/2005)
 04t2912005     90 ProposedVoir Dire by NATIONAL FERTII-IZERSLIMITED. (RCil:|BEN.
                     PHILIP)(Enterecl:
                                    04/2912005)
 04t29/2005     9_3 Minr-rteEntry fcrrprocecdingslreld beforeJudgeJoscphA. Greenawa,/,.Ir. :
                     Motion Hearingcontinuedon4/29/7OO5       rc7.4 MOTION in Lirninc liJedby
                     MURTY S. VEPURI, VARALAXMI VEPURI. (Court ReporterTor:rr
                     Brazaiti.s.)(ps, ) (Enterrcl:05/05i2005)

 05i03/200s 95 MinuteEntryfor proceedings
                                        heldbclbreJudgeJoscphA. Grcenawnl',
                                                                         Jr. :
                     .IurySelectionheldon 51312005.
                                                  9 Jurorsselected.
                                                                 Trial w/jury adj.,r r 5:30
                     p.m.,to becontirruecl
                                        on 5-4-05at 9:30,(CourtReporterTornBl:azaitis.)  (ps,)
                     (Entered:05/10/2005)
 05/04/2005     9l   ORDER denying 74 Motion fot a determination,that tltis mattershouldbc
                     governcclby tndian Law, etc..Signedby Judge.IosephA. Greenawa'y,, Jr. on
                           (id,) (Entered:
                     5/3105.            05/04/2005)
 0st04t2005     96   Minr-rte                  heldbefCIre
                            Entryfor procccdings            .IudgeJosephA. Greenawal,Jr. :
                     .Tury                  Trial adi.,at 4:00p,m.,to becontiuued
                         Trialheldon 5-4,-05.                                    on ::i-5-05
                                                                                           at
                     9:30a.m.(CourtRepoftcrTom Brazaitis.)   (ps,) (Ertteled:
                                                                           05/10/200f;.,
 0s/0s/2005     9 7 Minutc Entry for proceedingsheldbeforeJudgc.IosephA. Greenawtrr',
                                                                                   Jr. :
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                     Jury Trial held on 5-5-2005.Trial ad.i..at 4:00 p.m..to be corrtiuuecl
                     at 9:00 a.rr. (Courl RepofterTom Brazaitis.)(ps, ) (Entcred:05/10/2tlr:)5)

 05/06/2005     98 MinutcEntryI'orproceedings                                 .Ir.:
                                           heldlreforeJudge.losephA. Grccnawa.'y',
                                              Trial adi.,et l2:00p.m.,to becotttinued
                     JuryTrial helclon 5-6-2005.                                    1rn5-10-
                     05 at 9:30a.m. (Court       Tom
                                          Report.er"             (ps.
                                                      Braz,aitis.)   ) (Entcrcd:
                                                                               05/l(l/2005)

 05/10/200-5    94. Proposed               by NATIONAL FERTILIZERSI-II\4ITEI:'
                           Jur.yInstructions
                    (ROBBEN,PI{ILP) (Entered: 05/l 0i2005)
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                    Jury'li:ial co:rtinued
                                         ou 5/10/2005,(CourtReporter'l'otnBrazaitis.)([rt' )
                    (Entered: 05/16/2005)
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                                               hclclbcforcJudgcJosephA. Greenawsr,r,
                                                     (Cour:t
                                        on 5/-l.t/2005.
                     Jur:yTrial continued                 Report.er           (pri,)
                                                                 TornBrazaitis.)
                     (Entered:05/16/2005)
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 ...,'               Jury Trial continnedoritjf'!2/2005:(CorrrtRcporterTonr Brazaitis.)(5rti')
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                             JuryTrialcontinued          Tr:ialadj.,at 12:00p.rn.iro beco:rtinucd
                                              on 5/13/2005.                                     on
                                    (CourtRcporterTom Brazaitis.)(ps,) (Errter:ed:
                             5117105.                                           05/16/2005
                                                                                         ,
        05/16/2005 1 0 3 NOTICEof Changeof Addressby PAUL I.L MANDAL (id. ) (Enterrr:d:
                             0s/17t200s\
        0511712005t 0 4 MinuteEntryfor proceedings
                                                heldbeforeJudgeJoseph            y,lr, :
                                                                      A. Greenawrn
                        JnryTrialcontinued
                                         on5/17n0A5.Trialadj.,at5:45p.m.,to becontinucdon
                               (CourtReportel
                        5/18/05.            TomBrazaitis.)(ps,) (Entercd:
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        05/18/2005    l_0s MinuteEntryfor proceedings
                                                   heldbefore.IudgeJoseph          Jr. :
                                                                        A. Greenawa'/,
                             JulyTrial continucd           Trial adj.,at 4:30p.rn.,to lrecon[iruedorr
                                               on 5/1.8/2005.
                             5/19/05.(CourtReporterTomBrazaitis.)(ps.) (Entered: 05/191200:;l
        0sil9t2005    r 0 9 MinutcEntryfor proceedings
                                                     heldbcforeJudgeJosephA. Grcenaw;1'r,,
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                                                                                      Jr. I
                             JtrryTrial heldon 511912A05. ChargeconfereDccis setfor 5-23-05. r:ial
                                                                              (CourtReporter'Tom
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                             w/juryadj.,at 5130;l.rn.,to becontinuecl
                             Brazaitis.)(ps,) (Entered:05/25/2005)
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                             Conspi,racl,     by NATIONAL   FERTILIZERS   I-IMITED. (ROBElil:tN'
                             PHILIP) (Entered: 05 123120A5)
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        051231200s 1 0 7 BRIEFPla.inrifl'sBrief In,OppositionToDqfendants'               For
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                                         Tru.stfiled $y NATIONAI-FERTILIZERSLIMITED.
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                             (ROBBEN,PHTLIP)(Euter:ed    : 05/23/2005)

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                             PI-AINTIFF'SCI.,AIMFORTI.IEIMPOSITIONOF A CONSTRUC'I'IVE
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                             MOTION FORAN ORDERLIMITING TI.IEDAMACES          PLNINTIItr MAY
                             RECOVERON ITS CLAIM FORCIVIL CONSPIRACYDynraflser"'edotr
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                                     Tom Brazaitis')(ps.) (Entered:06/03/2005)
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                      plaintiff.(court RcporterTom Brazaitis.)(ps,) (Entcrect:
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                      (Attachmcnts:                                   PHILIP)(Entererl:
                                       # I Affidavit of Service)(ROBBEN,
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 06/20t2005 t 2 l DECLARATIONof PaulF. Doylere 1_20
                                                  Bricf by NATIONAL
                      FERTILIZERSLIMITED, (Attachments:
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                      PHILIP)(Entered:06/2012005)
 06t23t2005 122 .ILIDGMENTin favorof NATIONAL FERTILIZERSLIMITED agerurst
                      MURTY S. VEPURIAND VARALAXMI VEPURIin the sumof
                                  jointlyandsevclally.in componsatory
                      $2,000.000.00,                                 darnagcs,etc..iiigned
                                                Jr, on 6123105.
                      by JudgeJosephA. Greenaway,             0d, ) (Entcred:
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                      MURTY S. VEPLIRI, VARALAXMI VEPURI. (1d,) (Enterecl:07l0t5/2005)

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                                    exhibit A Page 9 of 13

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                    Greenaway.Court Rcporrer:ThomasF. Brazaitis.PLEASE NOTE: Thc
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12127/2005             SctDeadlines   asto 134,MOTIONto CompelDi,scovery     Responses,t',nd.fbr
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0l/10/2006 t37 ORDERthatpltl's motionto cornpeldel'ts'responses
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                                        is granted,
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01t2012006 l-=3I DECI-ARATIONof PaulF. Doyle pltrsu.atxt
                                                     t:othe Court:'sOrder,etr*ed, on
                             ry I 0, 2006by NATIONAL FERTILIZERSLIMITED. (Attacirrments:
                       .Innu,a                                                       #
                       l, ExhibitA# ? ExhibitBXROBBEN,PI{ILIP) (Entered:01/20/2006)
01t25t2006 t 3 9 MOTION for Rcconsiderationrc !3-4 MOTION to Compel Discoveri;
                       Respon,sesantl..forCas/sSUSHEELAVERMA by MURTY S' VEPUIIII,
                       VARALAXMI VEPURI. (Attachmenl.s:  # IXVERMA, SUSHEELA)
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0113U2006          l 4 Q Orcleron Oral Morion/ JUDGMENT in favor o1'NATIONA.I' FERTII IZERS
                        LIMITED againstMURTY S. VEPURI AND V^RALAXMI VEPUlilI. and
                        the Law Offices oJ:SushcelaVenna,jointly and severally,in thc amc'ltntOf
                        $7,886.00. Signcclby JudgeMadelineC. Arleo on l/31i06. (id' ) (Errt:red:
                        01/31/2006)
                                                       Orderou OralMotirltr
                                         re I4-8Judgment,
0210912006 1 4 1 MOTION for Reconsiclgation
                                 Orcleron oral Motion(rnjstar)bv MIIRTY S' VEPURI'
                        (mistar'),,
                        vAnnt-axMl VEPURI.(Auachments:                        of scrvice# 1l
                                                               # I Cerr.ificate
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                        SUSI-TEELA)  (Entered: 02109 /7006)

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                                     exhibit A Page 11 of 13

 02/2017006 144 |REPLY to Response
                                 to Motionre l4l MOTIONfor Rcconsidcratiorr
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                       preparedthe transcript.(ii, ) (Entered:07/1812006)

                                                filed by MURTY S. VEPUR,[.
 11t27t2006 148 APPLICATIONfor Stayof Exectttion,
                        VARALAXMI VEPURI.(Attaclrmenls:       #,1,ExhibitA PartI# 2 ExhjbitA Part
                        lI# 3 ExhibitB# 4 Brief# $ Textof  ProposedOrder# 6 Ccrtificate
                                                                                      of Scrvicc)
                        (STOF\4AN,MARC) (Enter:ed:    | | 12712006)
 t2/28t2Q06                                                                  theCourtentel';t
                   1,4:9_I-etterfr'ornPaulF. Doylc on behalfof pltf requesting
                         bdefingschcdule                 to stay.etc..(d. )
                                           on defts'motion                  (Enteled:
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 0vrt/2007         1 5 0 ORDER that pll.fs motion rcqrrcstingprciudgrnctrtintcrestis Denied ili; moot,
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                        by iudge.Ioseph  A. Greenaway,  Jr. on l/l l/07. (id, ) (Entered:
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 01t1812007 r 5 1 ORDERthatpltfs applicationfol artordet:toShoWcauserequesting rl stayof
                  executionon theJtrdgmcnt is Dcnied.Signedhy JtrdgeJosephA. Grt:'l:naway,
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I spokewithmv dauohterselementary schoolandthoprincipalis goingto call
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as shemissed36 daysdueto illness.
thanks,

Marisa
